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Form G-3 (20230922)

                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                       WESTERN _______________DIVISION
                               DIVISION
         SCP OPERATIONS LLC
In re:                                            )   Chapter 7
                                                  )
                                                  )   No. 23-17436
                                                  )
           Debtor(s)                              )   Judge Janet S. Baer
                                     NOTICE OF MOTION
  TO: Adam Silverman & Alex Brougham, Debtor's Attorneys, Via CM/ECF
       Office of US Trustee, Via CM/ECF
      Timothy Brink & Kevin Purtell, Attorneys for Associated Bank, Via CM/ECF
                                         January 26, 2024
        PLEASE TAKE NOTICE that on __________________,                11:00 a.m. , I will
                                                                   at ______
                             Janet S. Baer
appear before the Honorable _______________________,,       or any judge sitting in that judge’s
                            615 of the Stanley
place, either in courtroom _____               J. Roszkowski United States Courthouse
                                        ____________________________________________               ,
_________________________________________or
219 S. Dearborn Street, Chicago, IL 60604             electronically as described below, and
present the motion of Gina B. Krol, Chapter 7 Trustee
                       _____________________________________________________               [to/for]
 To Abandon Property of the Estate and Limit Notice
_______________________________________________,            a copy of which is attached.

      Important: Only parties and their counsel may appear for presentment of the
motion electronically using Zoom for Government. All others must appear in person.

      To appear by Zoom using the internet, go to this link: https://www.zoomgov.com/.
Then enter the meeting ID and passcode.

       To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252
or 1-646-828-7666. Then enter the meeting ID and passcode.

                                                                            1607312971
       Meeting ID and passcode. The meeting ID for this hearing is ______________,
                          587656
and the passcode is ____________.        The meeting ID and passcode can also be found on
the judge’s page on the court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without calling it.

                                          By: _____________________________________
                                              /s/Gina B. Krol
                                               Gina B. Krol
                                               105 W. Madison St., Ste. 1100
                                               Chicago, IL 60602
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                                CERTIFICATE OF SERVICE

           Gina B. Krol
        I, _______________________________,       certify [if an attorney]/declare under penalty of
perjury under the laws of the United States of America [if a non-attorney] that I served a copy of
this notice and the attached motion on each entity shown on the attached list at the address shown
                                                January 10, 2024
and by the method indicated on the list on _____________________             5:00 pm
                                                                        , at __________.

                                       /s/Gina B. Krol
                                      _____________________________
                                      [Signature]




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                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

IN THE MATTER OF:                              )       Chapter 7
                                               )
SCP OPERATIONS LLC ,                           )       No. 23 B 17436
                                               )
                Debtor.                        )       Judge Baer


          TRUSTEE’S MOTION TO AUTHORIZE ABANDONMENT OF PROPERTY PURSUANT TO
                        11 U.S.C. SECTION 554 (a) and TO LIMIT NOTICE

TO THE HONORABLE JANET S. BAER,
   BANKRUPTCY JUDGE


         Now comes, GINA B. KROL, Trustee herein, and respectfully represents unto this Honorable

Court as follows:


         1. She is the duly appointed, qualified and acting Trustee in the above‐captioned proceeding.

         2. On December 29, 2023 the above‐captioned Debtor filed a voluntary petition pursuant to

             Chapter 7 of the United States Bankruptcy Code.

         3. No schedules or statements have been filed in this case and the Debtor has sought an

             extension of time to file same.

         4. Immediately upon her appointment, the Chapter 7 Trustee conferred with Debtor’s

             attorney, visited the Debtor’s premises, met with attorneys for Associated Bank and began

             fielding numerous phone calls and emails from creditors.

         5. Immediately upon her appointment, the Chapter 7 Trustee attempted to assess the

             Debtor’s financial situation and gain an understanding of the immediate needs in the case.

         6. The Debtor has possession of several hundreds of pallets of branded merchandise which

             are not owned by the Debtor. In some cases, there remains an outstanding balance due by
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        the merchandise owners. In other cases, the merchandise has been fully paid for but

        remains in the Debtor’s possession.

    7. Upon information and belief, in addition to the afore‐mentioned merchandise, the Debtor

        owns cash, accounts receivable, inventory, equipment, warehouse racking, machinery and

        other physical assets.

    8. Upon information and belief, all of the afore‐mentioned assets are subject to a duly

        perfected blanket lien in favor of Associated Bank. Immediately upon her appointment,

        the Chapter 7 Trustee reached out to Attorneys for Associated Bank to discuss whether the

        Bank would agree to fund the Trustee’s liquidation of the Debtor’s assets and enable the

        Trustee to return a meaningful dividend to other creditors.

    9. Upon information and belief, Associated Bank will not fund the liquidation of the Debtor’s

        assets and the Trustee is without other additional assets to conduct said liquidation.

    10. Upon information and belief, the Debtor has in excess of 30,000.00 possible deposit

        creditors and the Clerk’s Office has requested that a claims noticing agent be retained in

        this case. Further, the cost of sending notices through any such claims noticing agent will

        be approximately $18,000.00 per notice. Neither the Debtor nor Estate has funds to pay

        for any notices.

    11. Upon information and belief, the Debtor’s premise are leased and rent has been paid

        through January of 2024. Further, upon information and belief, the monthly rental rate for

        the premises is $70,000.00 per month. Neither the Debtor nor the Estate has funds to pay

        rent beyond January of 2024.

    12. Immediately upon her appointment, the Chapter 7 Trustee reached out to the Office of the

        United States Trustee and discussed pending matters in this case, including the

        extraordinarily large number of creditors in the case, the Clerk’s request for a claims
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            noticing agent, the blanket lien of Associated Bank and the need for a cash injection to

            liquidate the assets. All agreed that without Associated Bank’s acquiescence and funding,

            the Trustee would not be able to effectuate an orderly liquidation and return a meaningful

            dividend to creditors in this case.

        13. Upon information and belief, the cumulative value of the assets less than balance owed to

            Associated Bank. Further, the Trustee is of the opinion that any equity in the properties is

            negligible and liquidation of same would require additional time and expense which would

            negate any negligible equity which may exist.

        14. The Trustee currently believes the Debtor’s assets are burdensome to the Estate and

            abandonment of the Estate’s interest therein is in the best interests of creditors, pursuant

            to 11 U.S.C. Section 554(a).

        15. Given the cost of sending the requisite notice of this motion, the Trustee is requesting that

            notice be limited to the US Trustee, Debtor’s Counsel and Bank’s Counsel, pursuant to

            Bankruptcy Rule 6007(b) for cause given herein.

                 WHEREFORE, GINA B. KROL, Chapter 7 Trustee herein, prays for the entry of an order,

            pursuant to 11 U.S.C. Section 554(a), authorizing here to abandon the Estate’s interest in

            several hundred pallets of branded merchandise, cash, accounts, accounts receivable,

            equipment, machinery, inventory and any other physical assets located at the Debtor’s

            leased premises in Batavia, IL, finding that notice of this motion as given is sufficient under

            Bankruptcy Rule 6007, and for such other and further relief as this Court shall deem

            proper.


JOSEPH E. COHEN                                          GINA B. KROL, Trustee
GINA B. KROL
COHEN & KROL
105 W. Madison St., Ste 1100                      BY:     /s/ GINA B. KROL
Chicago, IL 60602                                 One of Attorneys for Trustee
